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                                                                                                 E-FILED
                                                                Thursday, 02 August, 2012 12:48:31 PM
                                                                         Clerk, U.S. District Court, ILCD

                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE CENTRAL DISTRICT OF ILLINOIS
                                 SPRINGFIELD DIVISION
DR. MARK W. STURDY d/b/a                              )
ROCHESTER VETERINARY CLINIC                           )
on behalf of itself and a class,                      )
                                                      )
               Plaintiff,                             )
                                                      )
               v.                                     )
                                                      )
MEDIVET-AMERICA, LLC,                                 )
MEDIVET, INC., and JOHN DOES 1-10,                    )
                                                      )
               Defendants.                            )

                                COMPLAINT – CLASS ACTION

                         MATTERS COMMON TO MULTIPLE COUNTS

                                         INTRODUCTION
               1.        Plaintiff Dr. Mark W. Sturdy d/b/a Rochester Veterinary Clinic brings this

action to secure redress for the actions of defendants Medivet-America, LLC, and Medivet, Inc.,

in sending or causing the sending of unsolicited advertisements to telephone facsimile machines

in violation of the Telephone Consumer Protection Act, 47 U.S.C. §227 (“TCPA”), the Illinois

Consumer Fraud Act, 815 ILCS 505/2 (“ICFA”), and the common law.

               2.        The TCPA expressly prohibits unsolicited fax advertising. Unsolicited fax

advertising damages the recipients. The recipient is deprived of its paper and ink or toner and the

use of its fax machine. The recipient also wastes valuable time it would have spent on something

else. Unsolicited faxes prevent fax machines from receiving and sending authorized faxes, cause

wear and tear on fax machines, and require labor to attempt to identify the source and purpose of

the unsolicited faxes.

                                             PARTIES
               3.        Plaintiff Dr. Mark W. Sturdy d/b/a Rochester Veterinary Clinic is an

individual with offices at 130 North John Street, Rochester, Illinois 62563 where he maintains

telephone facsimile equipment. He is a citizen of Illinois.

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                4.     Defendant Medivet-America, LLC, is a Kentucky limited liability

company with offices at 200 Moore Drive, Nicholasville, Kentucky 40356. On information and

belief, its sole member and registered agent is Jeremy S. Delk, 200 Moore Drive, Nicholasville,

Kentucky 40356, a citizen of Kentucky.

                5.     Defendant Medivet Inc. is a Kentucky corporation. Its registered agent

and office is Jeremy S. Delk, 200 Moore Drive, Nicholasville, Kentucky 40356.

                6.     Defendants Medivet-America, LLC and Medivet, Inc., do business as

“Medivet America” and “Medivet.”

                7.     Defendants John Does 1-10 are other natural or artificial persons that were
involved in the sending of the facsimile advertisements described below. Plaintiff does not know

who they are.

                                 JURISDICTION AND VENUE
                8.     This Court has jurisdiction under 28 U.S.C. §§1331 and 1367. Mims v.

Arrow Financial Services, LLC, 132 S. Ct. 740, 751-53 (2012); Brill v. Countrywide Home

Loans, Inc., 427 F.3d 446 (7th Cir. 2005).

                9.     This Court also has jurisdiction under 28 U.S.C. §§1332(d) (Class Action

Fairness Act). Defendant is of diverse citizenship to at least one class member. On information

and belief, based on the economics of junk faxing, the number of class members exceeds 100.

On information and belief, based on the economics of junk faxing and the apparent target

audience of the faxes, the total amount in controversy, on a classwide basis, exceeds $5 million.

(At $1500 per fax, this is satisfied if more than 3,334 faxes were sent; since at the typical rates

charged for fax advertising, this would only cost $50 to $100, it makes little or no sense to send

fewer faxes.)

                10.    Personal jurisdiction exists under 735 ILCS 5/2-209, in that defendants:

                       a.      Have committed tortious acts in Illinois by causing the

transmission of unlawful communications into the state.


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                       b.      Have transacted business in Illinois.

                11.     Venue in this District is proper for the same reason.

                                               FACTS
                12.    On April 10, 2012, plaintiff Dr. Mark W. Sturdy d/b/a Rochester

Veterinary Clinic received the unsolicited fax advertisement attached as Exhibit A on his

facsimile machine. Discovery may reveal the transmission of additional faxes as well.

                12.    Defendants Medivet-America, LLC and Medivet, Inc., are responsible for

sending or causing the sending of the fax.

                13.    Defendants Medivet-America, LLC and Medivet, Inc., as the entities
whose products or services were advertised in the fax, derived economic benefit from the sending

of the fax.

                14.    Defendants Medivet-America, LLC and Medivet, Inc. either negligently or

wilfully violated the rights of plaintiff and other recipients in sending the fax.

                15.    The fax refers to a website used by defendants Medivet-America, LLC

and Medivet, Inc..

                16.    Plaintiff had no prior relationship with defendants and had not authorized

the sending of fax advertisements to plaintiff.

                17.    On information and belief, the fax attached hereto was sent as part of a

mass broadcasting of faxes.

                18.    On information and belief, defendants have transmitted similar unsolicited

fax advertisements to at least 40 other persons in Illinois.

                19.    There is no reasonable means for plaintiff or other recipients of

defendants’ unsolicited advertising faxes to avoid receiving illegal faxes. Fax machines must be

left on and ready to receive the urgent communications authorized by their owners.

                20.    The fax did not contain an “opt out” notice in the form required by 47

U.S.C. § 227.


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                                         COUNT I – TCPA
               21.     Plaintiff incorporates ¶¶ 1-20.

               22.     The TCPA makes unlawful the “use of any telephone facsimile machine,

computer or other device to send an unsolicited advertisement to a telephone facsimile machine

...” 47 U.S.C. §227(b)(1)(C).

               23.     The TCPA, 47 U.S.C. §227(b)(3), provides:

               Private right of action.

               A person or entity may, if otherwise permitted by the laws or rules of court
               of a State, bring in an appropriate court of that State–

                       (A) an action based on a violation of this subsection or the regulations
                       prescribed under this subsection to enjoin such violation,

                       (B) an action to recover for actual monetary loss from such a
                       violation, or to receive $500 in damages for each such violation,
                       whichever is greater, or

                       (C) both such actions.

               If the Court finds that the defendant willfully or knowingly violated this
               subsection or the regulations prescribed under this subsection, the court
               may, in its discretion, increase the amount of the award to an amount equal
               to not more than 3 times the amount available under the subparagraph (B) of
               this paragraph.
               24.     Plaintiff and each class member suffered damages as a result of receipt of

the unsolicited faxes, in the form of paper and ink or toner consumed as a result. Furthermore,

plaintiff’s statutory right of privacy was invaded.

               25.     Plaintiff and each class member is entitled to statutory damages.

               26.     Defendants violated the TCPA even if their actions were only negligent.

               27.     Defendants should be enjoined from committing similar violations in the

future.

                                     CLASS ALLEGATIONS
               28.     Pursuant to Fed.R.Civ.P. 23(a) and (b)(3), plaintiff brings this claim on

behalf of a class, consisting of (a) all persons (b) who, on or after a date four years prior to the


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filing of this action (28 U.S.C. §1658), or such shorter period during which faxes were sent by or

on behalf of defendants Medivet-America, LLC or Medivet, Inc., (c) were sent faxes by or on

behalf of defendants Medivet-America, LLC or Medivet, Inc., promoting their goods or services

for sale (d) which do not contain an opt out notice as described in 47 U.S.C. § 227.

               29.     The class is so numerous that joinder of all members is impractical.

Plaintiff alleges on information and belief that there are more than 40 members of the class.

               30.     There are questions of law and fact common to the class that predominate

over any questions affecting only individual class members. The predominant common

questions include:
                       a.      Whether defendants engaged in a pattern of sending unsolicited fax

advertisements;

                       b.      The manner in which defendants compiled or obtained their list of

fax numbers;

                       c.      Whether defendants thereby violated the TCPA;

                       d.      Whether defendants thereby engaged in unfair acts and practices,

in violation of the ICFA.

                       e.      Whether defendants thereby converted the property of plaintiff.

               31.     Plaintiff will fairly and adequately protect the interests of the class.

Plaintiff has retained counsel experienced in handling class actions and claims involving

unlawful business practices. Neither plaintiff nor plaintiff's counsel have any interests which

might cause them not to vigorously pursue this action.

               32.     Plaintiff’s claims are typical of the claims of the class members. All are

based on the same factual and legal theories.

               33.     A class action is the superior method for the fair and efficient adjudication

of this controversy. The interest of class members in individually controlling the prosecution of

separate claims against defendants is small because it is not economically feasible to bring


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individual actions.

               34.     Several courts have certified class actions under the TCPA Sadowski v.

Med1 Online, LLC, 07 C 2973, 2008 U.S. Dist. LEXIS 41766 (N.D. Ill. May 27, 2008); Green v.

Service Master on Location Services Corp., 07 C 4705, 2009 U.S. Dist. LEXIS 53297 (N.D. Ill.

June 22, 2009); CE Design v. Beaty Construction, Inc., 07 C 3340, 2009 U.S. Dist. LEXIS 5842

(N.D. Ill. Jan. 26, 2009); Hinman v. M & M Rental Ctr., 06 C 1156, 2008 U.S. Dist. LEXIS

27835 (N.D. Ill. April 7, 2008); G.M. Sign, Inc. v. Group C Communs., Inc., 08 C 4521, 2010

U.S. Dist. LEXIS 17843 (N.D. Ill. Feb. 25, 2010); Targin Sign Systems, Inc. v. Preferred

Chiropractic Center, Ltd., 679 F.Supp.2d 894 (N.D. Ill. 2010); Holtzman v. Turza, 08 C 2014,
2009 U.S. Dist. LEXIS 95620 (N.D. Ill. Oct. 14, 2009); G.M. Sign, Inc. v. Finish Thompson,

Inc., 07 C 5953, 2009 U.S. Dist. LEXIS 73869 (N.D. Ill. Aug. 20, 2009); CE Design v. Cy’s

Crabhouse North, Inc., 259 F.R.D. 135 (N.D. Ill. 2009).

               35.     Management of this class action is likely to present significantly fewer

difficulties that those presented in many class actions, e.g. for securities fraud.

               WHEREFORE, plaintiff requests that the Court enter judgment in favor of

plaintiff and the class and against defendants for:

                       a.       Actual damages;

                       b.      Statutory damages;

                       c.      An injunction against the further transmission of unsolicited fax

advertising;

                       d.      Costs of suit;

                       e.      Such other or further relief as the Court deems just and proper.

                      COUNT II – ILLINOIS CONSUMER FRAUD ACT
               36.     Plaintiff incorporates ¶¶ 1-20.

               37.     Defendants engaged in unfair acts and practices, in violation of ICFA § 2,

815 ILCS 505/2, by sending unsolicited fax advertising to plaintiff and others.


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               38.     Unsolicited fax advertising is contrary to the TCPA and also Illinois law.

720 ILCS 5/26-3(b) makes it a petty offense to transmit unsolicited fax advertisements to Illinois

residents.

               39.     Defendants engaged in an unfair practice by engaging in conduct that is

contrary to public policy, unscrupulous, and caused injury to recipients of their advertising.

               40.     Plaintiff and each class member suffered damages as a result of receipt of

the unsolicited faxes, in the form of paper and ink or toner consumed as a result.

               41.     Defendants engaged in such conduct in the course of trade and commerce.

               42.     Defendants’ conduct caused recipients of their advertising to bear the cost
thereof. This gave defendants an unfair competitive advantage over businesses that advertise

lawfully, such as by direct mail. For example, an advertising campaign targeting one million

recipients would cost $500,000 if sent by U.S. mail but only $20,000 if done by fax broadcasting.

The reason is that instead of spending $480,000 on printing and mailing his ad, the fax

broadcaster misappropriates the recipients’ paper and ink. “Receiving a junk fax is like getting

junk mail with the postage due”. Remarks of Cong. Edward Markey, 135 Cong Rec E 2549,

Tuesday, July 18, 1989, 101st Cong. 1st Sess.

               43.     Defendants’ shifting of advertising costs to plaintiff and the class members

in this manner makes such practice unfair. In addition, defendants’ conduct was contrary to

public policy, as established by the TCPA and Illinois statutory and common law.

               44.     Defendants should be enjoined from committing similar violations in the

future.

                                    CLASS ALLEGATIONS
               45.     Pursuant to Fed.R.Civ.P. 23(a) and (b)(3), plaintiff brings this claim on

behalf of a class, consisting of (a) all persons with Illinois fax numbers (b) who, on or after a date

three years prior to the filing of this action, or such shorter period during which faxes were sent

by or on behalf of defendants Medivet-America, LLC or Medivet, Inc. (c) were sent faxes by or


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on behalf of defendants Medivet-America, LLC and Medivet, Inc. promoting their goods or

services for sale (d) which do not contain an opt out notice as described in 47 U.S.C. § 227.

               46.       The class is so numerous that joinder of all members is impractical.

Plaintiff alleges on information and belief that there are more than 40 members of the class.

               47.       There are questions of law and fact common to the class that predominate

over any questions affecting only individual class members. The predominant common

questions include:

                         a.      Whether defendants engaged in a pattern of sending unsolicited fax

advertisements;
                         b.      Whether defendants thereby violated the TCPA;

                         c.      Whether defendants thereby engaged in unfair acts and practices, in

violation of the ICFA.

                         d.      Whether defendants thereby converted the property of plaintiff.

               48.       Plaintiff will fairly and adequately protect the interests of the class.

Plaintiff has retained counsel experienced in handling class actions and claims involving

unlawful business practices. Neither plaintiff nor plaintiff's counsel have any interests which

might cause them not to vigorously pursue this action.

               49.       Plaintiff’s claims are typical of the claims of the class members. All are

based on the same factual and legal theories.

               50.A class action is the superior method for the fair and efficient adjudication of

this controversy. The interest of class members in individually controlling the prosecution of

separate claims against defendants is small because it is not economically feasible to bring

individual actions.

               51.       Management of this class action is likely to present significantly fewer

difficulties that those presented in many class actions, e.g. for securities fraud.

               WHEREFORE, plaintiff requests that the Court enter judgment in favor of


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plaintiff and the class and against defendants for:

                       a.       Appropriate damages;

                       b.      An injunction against the further transmission of unsolicited fax

advertising;

                       c.      Attorney’s fees, litigation expenses and costs of suit;

                       d.      Such other or further relief as the Court deems just and proper.

                                  COUNT III – CONVERSION
               52.     Plaintiff incorporates ¶¶ 1-20.

               53.     By sending plaintiff and the class members unsolicited faxes, defendants
converted to their own use ink or toner and paper belonging to plaintiff and the class members.

               54.     Immediately prior to the sending of the unsolicited faxes, plaintiff and the

class members owned and had an unqualified and immediate right to the possession of the paper

and ink or toner used to print the faxes.

               55.     By sending the unsolicited faxes, defendants appropriated to their own use

the paper and ink or toner used to print the faxes and used them in such manner as to make them

unusable. Such appropriation was wrongful and without authorization.

               56.     Defendants knew or should have known that such appropriation of the

paper and ink or toner was wrongful and without authorization.

               57.     Plaintiff and the class members were deprived of the paper and ink or

toner, which could no longer be used for any other purpose. Plaintiff and each class member

thereby suffered damages as a result of receipt of the unsolicited faxes.

               58.     Defendants should be enjoined from committing similar violations in the

future.

                                    CLASS ALLEGATIONS
               59.     Pursuant to Fed.R.Civ.P. 23(a) and (b)(3), plaintiff brings this claim on

behalf of a class, consisting of (a) all persons with Illinois fax numbers (b) who, on or after a date


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five years prior to the filing of this action, or such shorter period during which faxes were sent by

or on behalf of defendants Medivet-America, LLC or Medivet, Inc., (c) were sent faxes by or on

behalf of defendants Medivet-America, LLC and Medivet, Inc. promoting their goods or services

for sale (d) which do not contain an opt out notice as described in 47 U.S.C. § 227.

               60.       The class is so numerous that joinder of all members is impractical.

Plaintiff alleges on information and belief that there are more than 40 members of the class.

               61.       There are questions of law and fact common to the class that predominate

over any questions affecting only individual class members. The predominant common

questions include:
                         a.      Whether defendants engaged in a pattern of sending unsolicited fax

advertisements;

                         b.      Whether defendants thereby violated the TCPA;

                         c.      Whether defendants thereby committed the tort of conversion;

                         d.      Whether defendants thereby engaged in unfair acts and practices, in

violation of the ICFA.

                         e.      Whether defendants thereby converted the property of plaintiff.

               62.       Plaintiff will fairly and adequately protect the interests of the class.

Plaintiff has retained counsel experienced in handling class actions and claims involving

unlawful business practices. Neither plaintiff nor plaintiff’s counsel have any interests which

might cause them not to vigorously pursue this action.

               63.       Plaintiff’s claims are typical of the claims of the class members. All are

based on the same factual and legal theories.

               64.       A class action is the superior method for the fair and efficient adjudication

of this controversy. The interest of class members in individually controlling the prosecution of

separate claims against defendants is small because it is not economically feasible to bring

individual actions.


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               65.     Management of this class action is likely to present significantly fewer

difficulties that those presented in many class actions, e.g. for securities fraud.

               WHEREFORE, plaintiff requests that the Court enter judgment in favor of

plaintiff and the class and against defendants for:

                       a.      Appropriate damages;

                       b.      An injunction against the further transmission of unsolicited fax

advertising;

                       c.      Costs of suit;

                       d.      Such other or further relief as the Court deems just and proper.




                                                 s/ Daniel A. Edelman
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                                   NOTICE OF LIEN AND ASSIGNMENT
              Please be advised that we claim a lien upon any recovery herein for 1/3 or such
amount as a court awards. All rights relating to attorney’s fees have been assigned to counsel.



                                               s/ Daniel A. Edelman
                                               Daniel A. Edelman


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